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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT


 SEC,
         Plaintiff,

         v.                                                    Civil No. 3:11cv78 (JBA)

 Illarramendi, et al.,
         Defendants.

                                    ENDORSEMENT ORDER

        Pursuant to the colloquy with counsel and parties of February 24, 2012:

1.      The Receiver shall produce all documents, records, and materials received and reviewed
        by the Receiver’s forensic accountant Matthew Greenblatt by Friday, March 2, 2012.

2.      Counsel for Highview Point Master Fund, Ltd., and Highview Point Offshore, Ltd. shall
        advise the Court by March 9, 2012 of the proposed scheduling for filing their brief in
        opposition to the Receiver’s Motion to Expand the Receivership [Doc. # 446].

3.      Defendant Francisco Illarramendi will be provided with appropriate access to the above
        discovery.

4.      A scheduling order, including a date for an evidentiary hearing, will follow.




                                              IT IS SO ORDERED.




                                                  /s/
                                              Janet Bond Arterton, U.S.D.J.


                              Dated at New Haven, Connecticut this 24th day of February 2012.
